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                     IN THE UNITED STATES DISTRICT COURT
                     OF THE SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 16-23943-CV-LENARD/GOODMAN


 RICK GLEWWE II, individually
 and as the personal representative of the
 estate of CRYSTAL GLEWWE, his
 deceased wife, and as the parent and
 natural guardian of KAYDEN GLEWWE,
 his daughter, et al.

               Plaintiffs,
 v.

 ROYAL CARIBBEAN CRUISES, LTD.,
 A Liberian Corporation,

             Defendant.
 _____________________________________/

                     ORDER APPOINTING GUARDIAN AD LITEM

        THIS CAUSE is before the Court on the Parties’ Joint Notice of Settlement (D.E. 83),

 filed October 16, 2017, in which the Parties advised that they resolved this case but require

 Court approval of the settlement because the matter involves minors.1 Separately, Plaintiff

 filed an Unopposed Motion to Appoint Guardian Ad Litem (see D.E. 81) which the Court

 denied because the attorney whom Plaintiff proposed was unable to accept appointment

 on a pro bono basis (see D.E. 85).

        Pursuant to Florida Statute § 744.387, a settlement on behalf of a minor must be

 approved by the Court after the Court determines that the settlement is in the best interests


        1
               According to the Amended Complaint, four (4) minor children survived
 the death of their mother, Crystal Glewwe. (See D.E. 22 at 2-3 ¶ 3.) The proposed
 settlement has not been submitted to the Court yet.
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 of the minor child. The Court therefore finds it appropriate to appoint a Guardian Ad

 Litem to review the terms of the proposed settlement in this case, to ensure that its terms

 are fair to the minors and that the Parties have taken all steps necessary to preserve the

 interests of the minors.

        Accordingly, it is ORDERED AND ADJUDGED that:

        1.     Griffin C. Klema, Esq., is appointed to serve as Guardian Ad Litem for the

               minors in this case;

        2.     Mr. Klema is directed to file a Guardian Ad Litem Report with the Court

               once he has reviewed the terms of the proposed settlement agreement. The

               Guardian Ad Litem Report shall: (1) set forth the materials reviewed

               by the Guardian Ad Litem; (2) state any physical, mental, and/or

               psychological damages suffered by the minor children; (3) state the

               current and projected costs of treatment for physical, mental, and/or

               psychological damages suffered by the minor children; (4) state

               whether the proposed settlement will adequately cover those current

               and projected costs; (5) set forth appropriate steps necessary to

               preserve the minor children’s interests in the settlement; (6) state

               whether the proposed settlement takes appropriate steps necessary to

               preserve the minor children’s interests in the settlement; (7) set forth

               the amount of attorney’s fees and costs; (8) explain whether the type,

               quantity, and quality of the attorney’s work in this case justifies the
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               amount of attorney’s fees; (9) set forth the experience and qualifications

               of Plaintiff’s attorney; and (10) state whether the Guardian Ad Litem

               recommends the Court approve the proposed settlement.                The

               Guardian Ad Litem Report shall be filed UNDER SEAL and within

               thirty (30) days of this Order; and

         3.    Plaintiff, Plaintiff’s counsel, Defendant, and Defendant’s counsel are

               directed to provide full and complete cooperation to the Guardian Ad

               Litem.

         DONE AND ORDERED in Chambers at Miami, Florida, this 19th day of October,

 2017.




                                                ________________________________
                                                JOAN A. LENARD
                                                United States District Judge

 Copies provided:    All Counsel of Record
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